Case 2:88-cr-00972-GHK-TJH Document 1405-1 Filed 05/08/20 Page 1 of 14 Page ID
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           Lompoc Prison Inmates and Families
           Describe ‘Cruel’ COVID-19 Conditions
           O cials Announce Conversion of Old Factory into Hospital Unit Is
           Now Complete




           Vandenberg Air Force Base provided cots and tents to the Lompoc prison complex. To increase
           social distancing, the prison also converted its gym and chapel into inmate housing. | Credit: Staff
           Sgt. Brittany E. N. Murphy / U.S. Air Force photo


           By Tyler Hayden

           Wed May 06, 2020 | 4:27pm


           Federal o cials announced this week that construction is now complete on a new 20-
           bed hospital space inside the Lompoc prison complex, where an outbreak of
           coronavirus has infected scores of inmates and staff. Scheduled to open May 6, the
           Hospital Care Unit (HCU) is located on the rst oor of a decommissioned military
           uniform factory in a medium-security area of the complex.


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     The HCU, the Bureau of PrisonsDocument
Case 2:88-cr-00972-GHK-TJH         said in a prepared
                                                1405-1 statement, comprises 10Page
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     occupancy treatment rooms, a patient intake area, nurses’ station, pharmacy, and
      biohazard room, as well as a guard post and staff lounge. “The concept to build the
      hospital began on April 9, after the institution’s rst positive COVID-19 inmate case
      was identi ed on March 31,” the statement reads. “Based on the size of the inmate
      population, the epidemic curve projected a high volume of cases, which would require
      a level of hospitalization the local community would be unable to meet.”

      The exact number of inmates and staff sickened by coronavirus remains an elusive
       gure, as the Bureau of Prisons (BOP) and Santa Barbara County health o cials have
      offered con icting data since the start of the outbreak. Citing security considerations,
      the BOP has also prohibited regional hospitals from disclosing how many inmates and
      staff have been, or are currently, in their care.

      As of Tuesday, May 5, the BOP was reporting 111 open cases in the complex, which
      consists of United States Penitentiary Lompoc (USP Lompoc), a medium-security
      facility with an adjacent minimum-security satellite camp, and Federal Correctional
      Institute Lompoc (FCI Lompoc), a low-security facility. Just over 2,700 male offenders
      are incarcerated between the two lockups. The 111 gure is a reduction from the 136
      active cases the prison described last week.

      County health o cials, on the other hand, are reporting only 107 total cases, both
      active and inactive. The BOP and the county, however, agree that 66-year-old inmate
      Oliver M. Boling died April 17 from the virus. Other sources familiar with the situation
      but not authorized to speak publicly have suggested the prison may contain as many
      as 300 to 400 open cases among inmates cases and another 50 to 70 among staff.


      Inmate Insight
      In a letter sent to the Santa Barbara Independent, inmate Steven Fishman accused
      Lompoc prison administrators of intentionally manipulating and downplaying the data.
      “They are taking off those COVID-19 positive inmates who have ‘apparently recovered’
      from the list of reported cases, when in fact none of them were ever re-tested,” he
      said. “This falsi cation of records is being done to make Lompoc Correctional
      Complex look good, but the reporting is not being done ethically or honestly.”

      Fishman provided a copy of a formal complaint led by fellow inmate Michael Ellis,
      who said he tested positive for COVID-19 on April 9 and was brie y placed in
      quarantine, but then reintroduced to the general population without being re-tested. “I
      have been placed back in my bunk in D Unit at North Camp, where there are
      approximately 125 other inmates living who might be susceptible to contagion of the
      virus because I have not been re-tested!” he wrote.

      Ellis also described his time in quarantine in the prison’s Secure Housing Unit, or SHU,
      which is normally reserved for violent or misbehaving inmates. “I felt hopeless,” he
      said. “I was listening to men throw up and cough all night.”




                                                                                                        /
     Inmate Scott Byars echoed Fishman
Case 2:88-cr-00972-GHK-TJH               and Ellis’s
                                    Document         concerns
                                                 1405-1       in his05/08/20
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     Independent. For speaking out, he predicted the BOP would subject him to “diesel
      therapy,” an unsanctioned form of punishment whereby shackled prisoners are
      aimlessly transported between institutions for days and weeks on end. “However,”
      Byars said, “this message is more important than how I do the rest of my time.”




      A letter from a Lompoc inmate written in Spanish describes his cellmate       Photo: Courtesy
      suffering from fever, diarrhea, and vomiting for ve days but receiving no
      help from staff.



      Families Still Concerned
      News of the Hospital Care Unit’s completion may offer some solace to the families of
      offenders. Many remain desperately worried about the health of their relatives and
      have been clamoring for information after the complex went on a complete lockdown
      on April 17 in an attempt to contain the outbreak. Phones and email were shut off, and
      though prison o cials said mail service would continue, families have complained
      that most of their letters are being returned to them without explanation.

      The order was meant to last 14 days but has been extended as new cases are
      identi ed. Inmates are con ned to their bunks except to use the shower and toilet, and
      they play cards and chess to pass the time. As boredom and frustration grow,
      however, more ghts are breaking out. The older prisoners do their best to keep the
      younger ones calm.

      “By initiating a two-week communications blackout that has been inde nitely
      extended, families are frustrated and concerned,” said Beth Lawrence, the mother of
      an inmate serving an eight-year sentence on drug charges. “We want to know what’s
      happening with our loved ones.” Lawrence said her son suffers from severe mental
      illness and was expressing troublesome thoughts right before she stopped hearing
      from him. “I don’t know if he has the virus,” she said. “I don’t know if he’s suicidal. I
      don’t know anything.” Other families have been able to communicate with their
      relatives by contraband cell phones.

      On April 24, Maria Del Carmen Torres Figueroa, who lives in Florida, received a letter
      from her son in Lompoc. He said his asthma was acting up and he was feeling very
      sick but his repeated requests for medical care were going unanswered. The next
      letter to Figueroa came on April 30 from her son’s cellmate. “I only write to you with
      bad news since your son has asked me to only tell you the truth of the state of his
      well-being and health,” the cellmate wrote in Spanish.


                                                                                                         /
     He went on to explain to Figueroa
Case 2:88-cr-00972-GHK-TJH             that her son
                                    Document        had developed
                                                  1405-1          a bad fever and
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     experiencing extreme bouts of diarrhea and vomiting. Though he could barely get out
      of bed, the guards continued ignoring his cries for help. After ve days of this, the
      cellmate said, he and the other inmates in their unit decided to start banging on their
      cell doors until medical attention came. It worked, and Figueroa’s son was taken to the
      hospital, he said. But when Figueroa contacted the prison on May 1, an o cer said her
      son was still at the prison but refused to provide her any more information.

      The cellmate concluded his letter by stating, “I am sending physical copies of all
      documents as evidence of everything that is happening here.” But Figueroa said the
      envelope arrived empty except for his handwritten note. “Where’s the rest?” asked
      Figueroa’s daughter, Kiara Carror. “There’s clearly something going on that they don’t
      want outsiders to know.” She called conditions at the prison “cruel.”




      Some inmates pass the time by writing rhymes, like this one about the      Photo: Courtesy
      coronavirus creeping through the complex



      Federal Explanations
      BOP Director Michael Carvajal directly addressed the Lompoc outbreak in an April 29
      video statement. He touted the new Hospital Care Unit, which will be staffed by
      personnel from Aspen Medical, a private health-care contractor that assisted with
      quarantines during the coronavirus outbreak on the Diamond Princess cruise ship.

      Carvajal, whose agency has been widely criticized for its slow and disorganized
      response to multiple outbreaks at its 122 facilities, where 41 inmates have died, struck
      a defensive and de ant tone in the video. He said he was proud of the way Lompoc
      prison o cials are performing “despite the constant criticism and distraction.”

      In a media statement released Tuesday afternoon, the BOP said it has started the
      process of testing 100 percent of the FCI Lompoc population for COVID-19 so the
      facility can better separate the infected from the healthy and reduce transmission
      rates. The agency also said the prison has an ample supply of personal protective
      equipment for both inmates and staff.

      A letter from Beth Lawrence’s son, however, said some still aren’t taking the necessary
      precautions. “The guards walk around with no masks making jokes about the virus,
      saying it’s a hoax and it’s being blown out of proportion,” he wrote. “Because of their
      incompetence, we are paying the price.”


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      aspect of this crisis — sorting truth from rumor. Our reporters and editors are asking
      the tough questions of our public health o cials and spreading the word about how
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     we can all help one another. TheDocument
Case 2:88-cr-00972-GHK-TJH                       needs us —Filed
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     and we need you in order to keep doing the important work we do. Support
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       Fri May 08, 2020 | 23:46pm
       https://www.independent.com/2020/05/06/lompoc-prisoninmates-and-families-describe-cruelcovid-19-condition




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       Lompoc Prison’s COVID-19 Crisis
       Threatens to Pop
       Rep. Salud Carbajal Warns of Potential 'Disaster That’s
       Unfathomable'




       A satellite view of United States Penitentiary Lompoc | Credit: Courtesy


       By Tyler Hayden


       Wed Apr 29, 2020 | 9:11am


       The confused and chaotic response of the U.S. government to the
       COVID-19 pandemic continues to plague Santa Barbara County, with
       the locus of the regional outbreak ― the federal prison complex in                      /
Case 2:88-cr-00972-GHK-TJH Document
     Lompoc ― showing few signs       1405-1 Filed 05/08/20 Page 8 of 14 Page ID
                                of containment.
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     As of Monday, April 27, less than a month since the rst case was
     reported at the prison, 104 inmates and 32 employees have been
     infected. The gures are essentially doubling every week. One inmate
     has died. The number of prison cases combined with the number of
     sick residents in surrounding North County communities, where the
     majority of guards and other staff live, account for 79 percent of Santa
     Barbara County’s con rmed COVID-19 infections.


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     For reasons unclear, the Bureau of Prisons (BOP), which operates 122
     correctional institutions across the country, is no longer updating its
     online “COVID-19 Resource Page” with data on the Lompoc outbreak,
     though it is for its other facilities. Information on new infections is
     instead being provided by Santa Barbara County health o cials during
     their daily press brie ngs.

     These same o cials, however, have also been admonished by BOP
     administrators to no longer disclose how many Lompoc penitentiary
     inmates and staff are being treated at area hospitals. “For safety,
     security, and privacy reasons, we do not discuss the conditions of
     con nement for any individual or group of inmates, including any
     assignments to local hospitals,” explained the national BOP
     spokesperson Emery Nelson.

     Regional leaders ― from the County Board of Supervisors to
     Congressional Representative Salud Carbajal and California Senators
     Dianne Feinstein and Kamala Harris ― have repeatedly expressed
     concern that COVID-19 patients from the prison complex could
     overwhelm Santa Barbara’s hospitals. (The complex consists of the
     medium- and minimum-security United States Penitentiary Lompoc
     with 1,520 inmates and the low-security Federal Correctional Institute
     Lompoc with 1,224 offenders.)


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     In two sharply-worded letters to BOP 1405-1   Filed 05/08/20
                                          Director Michael Carvajal,Page
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     congressmembers urged the federal agency to get the situation under
      control, including taking better care of staff, some of whom are
      reportedly sleeping in their cars between shifts to avoid bringing the
      virus home. They also asked about an elderly inmate who was released
      while in the late stages of an infection and died days later at home.
      They have not received a response. Carbajal warned journalist Jerry
      Roberts in an interview last week that the prison needs additional
      respirators and other resources to avert a potential “disaster that’s
      unfathomable.”

      Supervisor Joan Hartmann told the Independent her o ce is frequently
      hearing from the community on the issue. “County residents are
      making many sacri ces in slowing the spread,” she said, “and I have
      heard from several residents who would like to know more about what
      BOP has been doing to slow the spread of the virus, protect its
      workforce, and isolate those that have been exposed.”

      Three weeks ago, as the numbers in the penitentiary started to climb,
      Santa Barbara o cials ― who struggled mightily in recent years to
      establish communications with prison administrators on other matters
      ― were surprised to learn how limited the complex is in its ability to
      provide even basic health care. Its only means of treating inmate
      patients is through a small, rudimentary medical bay with few supplies
      and even fewer beds. (Vandenberg Air Force Base also lacks health-
      care resources.)

      Various ideas to increase the prison’s medical bed capacity were
      discussed, with a plan eventually settled upon to renovate a
      decommissioned military uniform factory on the property. Phase 1
      involves converting 11 o ce spaces into isolation cubicles that will
      house 22 patients. Phase 2 will convert a portion of the factory’s open
       oor plan into a congregate area with 60 to 80 beds. These efforts,
      however, have been hampered by delays, and it remains unknown how
      much construction has actually taken place, or if the BOP has secured
      the necessary equipment and staff to operate the facility once it’s
      completed.

      “With regard to the medical provider or the medical resources, I’d have
      to refer you to the Bureau of Prisons for direct responses,” said Dr. Van
      Do-Reynoso, director of the county Public Health Department, at a

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      press conference last week.  The BOP1405-1
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      information on the status of the factory project.

      Meanwhile the friends and relatives of inmates, many of whom live out
      of state, continue to clamor for information about their loved ones. The
      Lompoc prison has initiated what amounts to a complete
      communication blackout during a two-week lockdown it said is meant
      to limit further spread of the virus. Inmates are currently con ned to
      their dorms and cells and not allowed to leave their bunks except to
      use the shower or restroom.

      “Unfortunately, our guidance for better sanitation, to practice social
      distancing, and encouraging inmates to wear masks has not proven
      effective,” wrote Acting Complex Warden B. von Blanckensee in an April
      17 memorandum announcing the new restrictions. Blanckensee said
      BOP-issued masks were mandatory for all prisoners at all times, and
      commissary purchases were suspended.

      Blanckensee assured inmates that they would still be allowed to send
      and receive mail during the lockdown. Family members say otherwise.
      “I recently received a large manila envelope with several letters
      addressed to my brother (approximately 10) inside,” said Marina
      Santana in an email to the Independent. “They were stamped with
      ‘Return to Sender’ and ‘Wrong Address.’ I called the facility, and they
      con rmed that I had the correct address. I was not given an
      explanation as to why the letters were sent back.” Deb Hoover had a
      similar experience. “Mail posted to my husband has been “returned to
      sender,” she said. “This has put a stop to all of our communication.”

      Sunny Sisneros cried with concern for her 75-year-old father, who is due
      for release in August. Shortly before the lockdown began, he called to
      tell her he was sick — with the virus or not, he didn’t know — but was
      not receiving medical attention. She hasn’t heard from him since. When
      Sisneros calls the prison, an o cer says he is not allowed to give out
      private information on inmates and directs her to the BOP website.

      Sisneros, who lives in Wyoming, said she doesn’t care about the
      bureaucratic or political mechanisms that drove the federal
      government’s response to the virus. She just wants to know if her dad
      is okay. “I don’t care how we got here,” she said. “It is what it is. I just
      want my dad to come home.” Sisneros offered to make or buy masks

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      after her father reported aDocument  1405-1
                                  shortage of       Filed 05/08/20
                                              them among              Page 11 of 14 Page ID
                                                            the inmates.
                                           #:1491
      Without yard time or access to the “weight pile” to let off steam,
       growing tensions are exploding into st ghts, other sources say.

       Lompoc inmates and their families are also distressed the prison isn’t
       doing more to comply with U.S. Attorney General William Barr’s April 3
       order to release medically fragile and low-risk offenders to home
       con nement. It appears, however, that the Lompoc facility isn’t alone in
       its inaction. An article published April 25 by the Marshall Project, a
       nonpro t journalism project that covers the U.S. criminal justice
       system, revealed that the BOP has so far transferred only 1,027
       inmates to home con nement ― about 0.5 percent of the more than
       174,000 people in the bureau’s custody.

       Lawsuits are now being led on behalf of prisoners at other BOP
       penitentiaries throughout the country. In one case in Ohio, a judge said
       the BOP had treated the health and welfare of its inmates with
       “deliberate indifference.” In a separate case, a judge called the federal
       agency’s process for approving transfers “Kafkaesque” and said it
       prevented many appropriate releases.


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        Lompoc Prison COVID-19 Cases
        Skyrocket to 599
        Mass Testing Is Exposing the True Scope of the Outbreak




        FCI Lompoc | Credit: Courtesy


        By Tyler Hayden

        Thu May 07, 2020 | 5:23pm


        The number of con rmed active COVID-19 cases among inmates and
        staff at the federal prison complex in Lompoc grew to an eye-popping
        599 on Thursday as mass testing at the property continues to expose
        the true scope of the outbreak.

        At Federal Correctional Institute Lompoc (FCI Lompoc), a low-security
        facility and one-half of the prison complex where 100 percent of
        prisoners are in the process of being tested, 541 inmates and 11 staff
        are currently infected. A total of 1,162 inmates reside there.


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       At United States Penitentiary Lompoc (USP Lompoc), a medium-
       security facility with two satellite camps that has yet to undergo mass
       testing, 33 inmates and 14 staff have open cases. Two inmates from
       USP Lompoc, which houses 1,542 offenders, have died.

       The complex’s 599 cases have now eclipsed the total number of
       infections among Santa Barbara County residents, which stood at 441
       as of Thursday afternoon. The Bureau of Prisons (BOP), the federal
       department that operates the Lompoc facilities, is also only disclosing
       open coronavirus cases, while the tally by Santa Barbara health o cials
       of residents includes both open and closed cases, meaning the
       complex’s aggregate count is even higher than 599. But to what degree
       is unknown as BOP administrators have declined to comment beyond
       the data on their website.

       Inmates and their families have complained since the start of the
       outbreak in late March that Lompoc prison o cials are not doing
       enough to curb the spread of the virus. Social-distancing protocols
       were slow to roll out, and personal protection equipment came weeks
       after the rst cases were reported in the tightly packed cells and
       dormitories. Hand sanitizer is still considered contraband because of
       its alcohol content.

       The complex remains on full lockdown ― with inmates con ned to
       their bunks 24 hours a day except to use the shower or go to the
       bathroom ― as Lompoc o cials try to contain the outbreak, now the
       second-worst among the BOP’s 122 penitentiaries. Terminal Island
       Federal Correctional Institute in San Pedro is reporting 633 open cases
       and six deaths. Nationwide, 44 inmates have died.


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